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                      Case 2:23-cr-00197-JS-AYS Document 2-1 Filed 05/09/23 Page 1 of 1 PageID #: 25
                                                                                                                                                                                  ,,
          TO: Clerk's Office
              UNITED STATES DISTRICT COURT             FILE 0
              EASTERN DISTRICT OF NEW YORK _ U.S. DISTRICT
                                                   IN CLERK'S OFFICE
                                                           COURT E.D.N.Y.

                                                                                   MAY    oo 2023
                APPLICATION FOR LEAVE
              TO FILE DOCUMENT UNDER SEAL
                                                                          *LONG ISLAND OFFICE
                                                                                                          *
                                                                                                     A) If pursuant to a prior Court Order:
                                                                                                     Docket Number of Case in Which Entered:_ _ _ _ _ __

          UNITED STATES OF AMERICA            I R 23 191?                                            Judge/Magistrate Judge: _ _ _ _ _ _ _ _ _ _ _ __
                                                                                                     Date Entered:_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                             -v.-
          GEORGE ANTHONY DEVOLDER                                Docket Number
          SANTOS, a/k/a "George Santos"
          ••••••••••••••••••••••••••••••••
                                                                              SEYBE~J.               B) If a nm application, the statute, regulation, or other legal basis that
          SUBMITTED BY: Plaintiff   Defendant DOJ ✓                                                  authorizes filing under seal
          Name: AUSA Anthony Bagnuola
          Firm Name:._ _ _ _ _ _ __ __ _ _ _ __                                                      Qngning criminal investigation
           Address:  U.S. Attorney's Office, Eastern District of New York      SHIELDS, M . t f r - - - - - - - - - - - - -
                     6IO Federal Plaza, Central Islip NY 11722
           Phone Number: (631) 715-7849                                                              ORDERED SEALED AND PLACED IN THE CLERK'S OFFICE,
           E-Mail Address:anthony.bagnuola@usdoj.gov                                                 AND MAY NOT BE UNSEALED UNLESS ORDERED BY
                                                                                                     THE COURT.
           INDICATE UPON THE PUBLIC DOCKET SHEET; YES                  NO ✓
           If yes, state description of document to be entered on docket sheet:                      DATED: C      tral Islip                 , NEW YORK
                                                                                                                  ay 9, 2023




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                                                                                                                                               ___0___2___
                                                                                                                                                       3 _ _ _ _ __
                                                                                                                                                DATE
           MANDATORY CERTIFICATION OF SERVICE:
           A.)_ A copy of this application either has been or will be promptly served upon all parties to this action, B.) _
                                                                                                                           Service is excused by 31 U.S.C. 3730(b}, or by
           the following other statute or regulation: _ _; orC.) L__This is a criminal document submitted, and flight public safety, or security are significant concerns.
           (Check one)

                                      May 9, 2023
                                       DATE
